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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     :              CRIMINAL ACTION
          v.                                 :
                                             :
AYOUB TABRI                                  :              NO. 20-377-01, 02
REG. NO. 09251-107                           :
LESTER FULTON SMITH
REG. NO. 47438-509


                                  HEARING CANCELLED

        TAKE NOTICE that the above captioned matter is scheduled for TRIAL on
DECEMBER 21, 2021 at 9:30 a.m. and a PRE-TRIAL MOTION HEARING on
DECEMBER 8, 2021 at 9:30 a.m. before the Honorable Joel H. Slomsky in Courtroom 13A,
13th floor of the United States District Court, 601 Market Street, Philadelphia, PA 19106.


☒ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☐ Interpreter: A          interpreter will be required for the defendant.

☐ Hearing rescheduled from:

Matthew J. Higgins
Courtroom Deputy to
Hon. Joel H. Slomsky
Phone: 267-299-7349

Date: 8/18/21

cc via U.S. Mail:      Defendant
cc via email:          Defense Counsel: N. MacEoin, Esq., G. Clark, Esq.
                       Assistant U.S. Attorney: V. Gauri, AUSA, C. Sykes, AUSA
                       U.S. Marshal
                       Court Security
                       Probation Office
                       Pretrial Services
                       Interpreter Coordinator
